68 U.S. 682
    17 L.Ed. 496
    1 Wall. 682
    RESOLUTE AND NORTHERNER.
    December Term 1863.
    
      The waters of Puget's Sound, in Washington Territory, were not within the Rules and Regulations adopted 17th October, 1857, of the Supervising Inspectors, appointed under the act of Congress of 30th August, 1852, to be observed by vessels in passing each other.
      CONGRESS, by act of August 30, 1852,* provided for the appointment of supervising inspectors of steamers and machinery; one of the duties of such inspectors being to establish rules and regulations to be observed by all vessels in passing each other, and to assign the limits of territory within which they should be obligatory.  The inspectors accordingly met, and in 1857 established nine districts, defined their limits, and adopted certain rules to govern vessels in passing each other within them. On  ibel and cross-libel, in admiralty, between a steamboat and steam-tug for collision, the chief question of law was, whether the waters of Puget's Sound, in Washington Territory, were within the limits of any one of the nine districts established by the supervising inspectors.
      Mr. Justice CLIFFORD delivered the opinion of the court, on the point of law in the case, to this effect:
    
    
      1
      The Territory of Washington was established on the second day of March, 1853.  By the terms of the act, it embraces all that portion of Oregon Territory lying and being south of the forty-ninth degree of north latitude, and north of the middle of the main channel of the Columbia River from its mouth to where the forty-sixth degree of north latitude crosses said river, thence with said forty-sixth degree of latitude to the summit of the Rocky Mountains.  Washington Territory was not included in any one of the nine districts, as is obvious from the language employed. The fourth district embraced the coast of California and Oregon, and all waters flowing into the Gulf of Mexico south and west of Cape Sable and north of the Rio Grande, except those of the Mississippi above Napoleon;  but no mention was made of the Territory of Washington, and there was no other district which embraced any portion of the Pacific coast.  The testimony of witnesses examined in the case is full to the point that no such rules and regulations were known there, and that none such had been furnished by the supervising inspectors, or any other public authority.  Two printed copies of such rules and regulations are required by the act to be furnished to each of such vessels;  and the direction is, that they shall at all times be kept up in conspicuous places on such vessels, and be observed both night and day.  Congress did not make the rules or establish the districts, but authorized both to be done by the supervising inspectors.  The rules and regulations adopted did not embrace the waters which the steam-tug was navigating, and consequently she was not in fault in not having complied with those rules and regulations.  The limits of the fourth district were amended in March, 1861, so as to embrace the Pacific coast, with all the waters flowing into the same, within the original boundaries of the district.  Doubts are entertained, however, whether the limits, as amended, included the Territory of Washington;  but the regulations adopted in December following provide that the first district shall embrace all the waters and rivers of the Pacific, which remove all doubt upon the subject.
    
    
      2
      DECREES ACCORDINGLY.
    
    
      
        *
         10 Stst. at Large 70, § 18.
      
    
    